          Case 3:17-cr-01080-WQH Document 17 Filed 05/16/17 PageID.17 Page 1 of 2


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                                                                         ERK US DISTRICT COURT
                                                                         ERN DISTRICT OF CALIFORNI
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 6                                                                       ORIGINAL
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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   II   UNITED STA TES OF AMERICA,                      Case No.   II· Cfl- lolD·    \.J   Q.. \-\.
12                           Plaintiff,
                                                         CONSENT TO RULE 11 PLEA
                                                         IN A FELONY CASE BEFORE
1311 V.                                                  UNITED STATES
14        PHYLLIS MARLENA SCHAFFTER,                     MAGISTRATE JUDGE
15   II                      Defendant.
16
17 II           I have been advised by my attorney and by the United States Magistrate Judge
18 II of my right to enter my plea in this case before a United States District Judge. I
19        hereby declare my intention to enter a plea of guilty in the above case, and I request
20        and consent to have my plea taken by a United States Magistrate Judge pursuant to
21 II Rule 11 of the Federal Rules of Criminal Procedure.
22 II           I understand that if my plea of guilty is taken by the United States Magistrate
23        Judge, and the Magistrate Judge recommends that the plea be accepted, the assigned
24        United States District Judge will then decide whether to accept or reject any plea
25        agreement I may have with the United States and will adjudicate guilt and impose
26        sentence.
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 1 II        I further understand that any objections to the Magistrate Judge's findings and
 2 II recommendation must be filed within    14 days of the entry of my guilty plea.
                                                   ik}w~
 3
 4 II Dated:   S- q-'{ J.-::                       Phyllis MartenaSChaft
                                                                         l.A.--
 5                                                 Defendant
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 711 Dated: _s-f4\tr1
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                                                   Alana B. McMains
 8                                                 Attorney for Defendant

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11 II        The United States Attorney consents to have the plea in this case taken by a
12 II United States Magistrate Judge pursuant to Criminal Local Rule 11.1.



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